                               UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF TENNESSEE
                                     AT GREENEVILLE

    UNITED STATES OF AMERICA                      )
                                                  )
           v.                                     )          No. 2:19-CR-14
                                                  )          Judge Greer
    XIAORONG YOU,                                 )
       a/k/a SHANNON YOU                          )



                   SENTENCING MEMORANDUM OF THE UNITED STATES


          The United States of America, by and through the United States Attorney for the Eastern

   District of Tennessee, files this sentencing memorandum in compliance with the Court’s Order.

          On April 22, 2021, following a jury trial, the defendant was convicted of eleven counts:

   Count One (conspiracy to commit theft of trade secrets, in violation of 18 U.S.C. § 1832(a)(5)),

   Counts Two through Eight (possession of stolen trade secrets, in violation of 18 U.S.C.

   § 1832(a)(3)), Count Nine (wire fraud, in violation of 18 U.S.C. § 1343), Count Ten (conspiracy

   to commit economic espionage, in violation of 18 U.S.C. § 1831(a)(5)), and Count Eleven

   (economic espionage, in violation of 18 U.S.C. § 1831(a)(3)). On September 17, 2021, the

   United States Probation Office prepared and filed a Presentence Investigation Report (“PSR”).

   [Doc. 366.] The United States has filed its objections to the PSR contemporaneously with the

   filing of this sentencing memorandum. The PSR set forth a criminal history category of I and a

   total offense level of 41, which corresponds to an advisory Guidelines range of 324 to 405

   months of imprisonment. If the government’s objections to the PSR are adopted, the total

   offense level would be 43, which corresponds to an advisory guidelines range of life

   imprisonment.



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          For the reasons set forth herein, the government recommends that the defendant be

   sentenced to a term of imprisonment of 240 months (i.e., the statutory maximum term of

   imprisonment for each count of conviction, with all sentences running concurrently).

                     APPLICATION OF THE 18 U.S.C. § 3553(a) FACTORS

          1. The Nature and Circumstances of the Offense and the History and
             Characteristics of the Defendant.

          The defendant was convicted of various offenses related to her theft of trade secrets

   belonging to seven companies, information that was collectively worth hundreds of millions of

   dollars. Evidence at trial showed that defendant stood to personally make tens of millions of

   dollars as a result of her crimes, in addition to an equity stake in a China-based company that

   would be worth much more. Trial witnesses from the victim companies testified about why the

   companies invested so much time and money into the trade secrets at issue—they hoped that the

   unique recipes (that the defendant later stole) would allow them to succeed in the market for

   BPA-free beverage container coatings. The defendant herself wrote that her China-based

   company intended to “break” the victim companies’ hold on that market. See, e.g., trial exhibit

   8-b (defendant’s Thousand Talents Plan application) at 14. When trade secrets are stolen, the

   damage is felt not only in dollars and cents—it is often felt in lost jobs and livelihoods. Despite

   having worked at one of the victim companies herself, defendant has yet to demonstrate any

   remorse for the damage that her scheme, if successful, would have wrought on the victim

   companies and their employees.

          The financial aspect of defendant’s crimes is bad enough. But as the jury found, the

   defendant—a naturalized U.S. citizen—committed those crimes intending not only to benefit

   herself financially, but also to benefit the Chinese government and its instrumentalities. Through

   her work in the United States, for U.S. companies, defendant sought to benefit not her adopted


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   homeland, but a foreign government. She sought not only to betray her employers, but to betray

   her country.

          The defendant has no prior criminal history. But she nonetheless played a lead role in a

   complex, multi-year, international conspiracy. She is by all accounts highly educated and

   extremely intelligent. Not only should she have known better, but trial testimony proved that she

   absolutely did know better: the jury heard testimony about the many trainings she received about

   safeguarding sensitive information and from co-workers who testified about how her actions

   were so clearly out-of-bounds. The fact that she was a highly skilled professional only makes

   her decision to commit her crimes that much more egregious.

          2. The Need for the Sentence Imposed to Reflect the Seriousness of the Offense, to
             Promote Respect for the Rule of Law, and to Provide Just Punishment for the
             Offense.

          As stated above, defendant sought to betray not only her U.S. employers, but also her

   country. These were extremely serious offenses. For trade secret offenses that are thwarted

   before they can reach their ultimate goal, the U.S. Sentencing Guidelines quantify the

   seriousness of such offenses based largely on intended loss to the victims. See USSG §2B1.1.

   The draft PSR estimated defendant’s intended loss by totaling the victim companies’

   development costs for the stolen trade secrets. [Doc. 366 at ¶ 24.] The Government’s

   Objections to the PSR proposed an alternative way to estimate intended loss based on

   defendant’s own statements about the expected profits that the new China-based company would

   earn (profits made possible by the stolen trade secrets), which could only be earned by stealing




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   customers from the victim companies.1 By any measure, these were extremely serious offenses,

   and they merit a serious sentence.

          The sentence must also promote respect for the rule of law. Every day, all across this

   country, countless employees are entrusted with valuable, proprietary information that they need

   in order to do their jobs. If they disclose that information—even accidentally—it would harm

   their employers. The consequences could range from mild to severe, including lost profits, lost

   jobs, lost opportunities, or worse. A sentence of 240 months would promote respect for the rule

   of law among the countless persons employed by or with access to the proprietary trade secrets

   of American businesses, who may be tempted by a foreign government or otherwise to steal such

   information.

          In addition to those arguments of general applicability, the punishment must promote the

   defendant’s respect for the rule of law. At no point in the investigation or trial did the defendant

   express remorse for her actions, and to the government’s knowledge she has not expressed

   remorse since.2 A sentence of 240 months should be sufficient to impress upon the defendant the

   need for her to respect the rule of law.




   1
     The government does not contend that there was anything incorrect about the draft PSR’s
   calculation of development costs. The methodology proposed in the Government’s Objections to
   the PSR is intended only to give the Court an alternate method—one which the government
   believes is more appropriate—of estimating intended loss. Both estimates yield intended loss in
   the hundreds of millions of dollars. The government invites the Court to adopt the facts and
   arguments in the Government’s Objections to the PSR in order to bolster the Court’s ultimate
   finding as to intended loss. See United States v. Pu, 814 F.3d 818 (7th Cir. 2016) (appeals court
   vacated sentence and remanded for resentencing because the district court estimated intended
   loss merely by totaling trade-secret development costs, without evidence that such a figure
   represented the losses that the defendant intended to cause the victims).
   2
    See PSR, Doc. 366, at ¶ 20 (“As of completion of the presentence investigation, the defendant
   has not clearly demonstrated acceptance of responsibility.”)

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          The defendant must be also punished justly. “A just punishment reflects the seriousness

   of criminal conduct . . . [and] takes into account the consequences of a defendant’s crimes, and

   their impact on the victims, others, and the community.” United States v. Haughawout, 502 F.

   Supp. 3d 1234, 1238 (N.D. Ohio Nov. 23, 2020). The defendant abused the extraordinary trust

   placed in her by dozens of people representing not fewer than eight companies, including two

   employers. The trial evidence proved that the defendant successfully lured the victim companies

   to trust her with their trade secrets. The evidence also showed that she systematically exploited

   that trust. This evidence included the defendant’s statements regarding the magnitude of the

   trust placed in her by the victim companies. See, e.g., trial exhibit 4-a (Email from the defendant

   to Dana Breed) (“When I discuss compositional data with suppliers, no other team members are

   allowed to be in the room. . . . I am the only one from R&D has access [sic] to their

   formulations.”) The defendant was also trained and tested repeatedly by Coca-Cola and by

   Eastman Chemical on the importance of protecting trade secrets. [See, e.g., trial exhibit 7-o

   (Eastman chart documenting training taken by the defendant); Doc. 341 at 86–94 (trial testimony

   of Paul Huesken describing Coca-Cola’s training). And the defendant signed or was named in

   numerous non-disclosure agreements and related documents affirming she would not possess any

   trade secret information except as authorized by her employer. See, e.g., trial exhibit 5-d (Coca-

   Cola Non-Disclosure Agreement with PPG Industries); trial exhibit 6-c (Eastman Employment

   Agreement with Defendant); trial exhibit 6-k (Eastman Letter Reminding Defendant of Secrecy

   Obligation).

          A just punishment must account for the effect of the defendant’s duplicity on the victim

   companies. That effect is severe. Contemporaneous to this memorandum, the United States is

   filing under seal statements from several of these victim companies. These statements confirm



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   that the seriousness of the defendant’s offenses is tied to the trust placed in her by the victim

   companies and her decision to exploit that trust. They speak for themselves.

          3. The Need for the Sentence Imposed to Afford Adequate Deterrence to Criminal
             Conduct

          As noted above in the context of the need to promote respect for the law, it is important

   that the countless employees across the U.S. who are afforded access to valuable trade secrets

   know that if they attempt to illegally convert those trade secrets for their own gain, there will be

   serious consequences. Indeed, it is critical to U.S. economic security that theft of trade secrets be

   discouraged in no uncertain terms. This is especially true given the difficulty of detecting the

   theft of trade secrets and economic espionage, crimes frequently committed by extraordinarily

   intelligent people entrusted with tremendous responsibility—like the defendant. See United

   States v. Martin, 455 F.3d 1227, 1240 (11th Cir. 2006) (“Because economic and fraud-based

   crime are more rational, cool, and calculated than sudden crimes of passion or opportunity, these

   crimes are prime candidates for general deterrence.”) (internal quotations omitted). In fact,

   deterrence by the prospect of punishment is critical to reducing the incidence of crimes like

   these. See United States v. Courtney, 76 F. Supp. 3d 1267, 1306 (D.N.M. Dec. 15, 2014)

   (“[C]rimes like this one are difficult to detect with speed or certainty, and, thus, punishment must

   be stepped up to effectuate general deterrence.”)

          Unfortunately, in this case the trial evidence shows both that the defendant knew that she

   could be prosecuted but also that she had reason to believe that, in the unlikely event that she

   was caught and convicted, her sentence might not be particularly severe. On April 8, 2018, the

   defendant received a voicemail from her sister stating:

                  Hey the… I was eating with Xiaoyi and the others a couple of days
                  ago. Xiaoli [PH] was there too, and we were talking about you. And
                  ZHOU Feng [PH] mentioned that--mentioned that you might be uh,


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                   whatever… going to jail and something like that. Big Sis, you be
                   careful, okay?! Try your best to pull the Italians over. Money—
                   money is a small matter… If you get prosecuted and stuff, and you
                   lose your freedom, and then… [Nervous chuckle] I didn’t know that
                   you’d also go to jail and stuff, be in all that trouble. The Americans
                   are very bad! They are, uh… framing Chinese people, uh…
                   everywhere. Okay.

   Trial exhibit 9-a (WeChat Chart), row 302 (emphasis added). So, the defendant knew she could

   “get prosecuted . . . and lose [her] freedom, and . . . go to jail.” [Id.] But, she also had reason to

   believe that any actual sentence for her misconduct might be relatively lenient. As described

   above, the defendant received extensive training regarding the need to protect proprietary

   information and, specifically, trade secrets. That training included a PowerPoint that included

   the following slide:




   Trial exhibit 7-k, at 26. Setting aside the actual facts of the cases cited in this slide, the

   defendant was made aware of one potential sentence and to two actual sentences for defendants

   who stole trade secrets worth up to $400,000,000—actual sentences of only 14 and 15 months.

   The defendant viewed this presentation on September 7, 2017. See trial exhibit 7-o. The above

   PowerPoint presentation included a test, which the defendant passed on September 7, 2017. Id.

   Among the test questions was the following, answered correctly by the defendant:


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   Id. at 34. Thus, the Court can conclude that the defendant knew she was committing a crime,

   that she could be caught and prosecuted, and that prosecution could result in a sentence of

   incarceration. And yet, she was undeterred. Fortunately, she was caught. But the painful reality

   is that but for Eastman Chemical’s alert and prompt action, the defendant’s crimes may never

   have been discovered, let alone prosecuted. In this instance, deterrence through education on

   relatively lenient sentences clearly failed. Adequate deterrence is critical to reducing the

   prevalence of the grave threat that crimes like the defendant’s pose to companies that do business

   in the United States and to this country’s economic security generally.

          The Court should impose a sentence of 240 months so that the sophisticated and highly

   educated people, trusted by their employers with information of incredible value, who are right

   now performing the same mental calculus the defendant performed in 2017 reach a different

   conclusion and are deterred. There is no doubt but that they are paying attention to this Court’s

   actions. See Courtney, 76 F. Supp .3d at 1306 (“Furthermore, offenders who commit crimes like

   this one are more sophisticated than most criminal defendants and thus more likely to be aware

   of the magnitude of their potential criminal exposure.”)




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             4. The Need for the Sentence Imposed to Protect the Public from Further Crimes
                of the Defendant

             As a convicted trade secret thief, it is unlikely that future employers would ever trust the

   defendant with sensitive or proprietary information. However, trial testimony indicated that the

   defendant may still have access to the extraordinarily valuable trade secrets that she stole from

   the victims in this case.3 Those trade secrets remain valuable, and serious sums of money may

   still be available to the defendant from would-be competitors in the BPA-free can coating

   market. At least one of the filed victim company impact statements raised these exact concerns.

   A serious sentence would help prevent the victims in this case from the risk of being victimized

   once again by this defendant.

             5. The Need to Avoid Unwarranted Sentence Disparities Among Defendants with
                Similar Records Who Have Been Found Guilty of Similar Conduct

             A primary tool for avoiding sentencing disparities is, of course, the Sentencing

   Guidelines. While defendant’s applicable Guidelines range is likely to be quite high (low end

   likely to be 324 months of imprisonment or higher), the government submits that a sentence of

   240 months will avoid unwarranted sentencing disparities.

             The new Judiciary Sentencing Information System (“JSIN”) provides statistical

   information regarding actual sentences imposed.4 JSIN can be navigated to identify actual

   sentences after controlling for offense level, criminal history, and primary sentencing guideline.

   A search of JSIN conducted February 3, 2022, for offenders with an offense level of 41 (like the

   defendant), a criminal history category of I (like the defendant), and a primary sentencing




   3
     See Government’s Objections to the Presentence Report at 2–4 (trial testimony indicated that
   stolen trade secrets resided on an electronic device that the FBI has not yet recovered).
   4
       JSIN is available at https://jsin.ussc.gov/analytics/saw.dll?Dashboard.

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 guideline of U.S.S.G. § 2B1.1 (like the defendant), revealed the following:




 The average sentence length was 194 months, while the median was 174 months. After properly

 accounting for intended loss as argued in the United States’ objections to the PSR, the

 defendant’s offense level rises to 43. For that offense level, JSIN reveals the following:




 This search yields a greater sample size (29 versus 16 offenders) than the lower offense-level

 search, and a higher average (255 months) and median (240 months) sentence length. These

 actual sentences serve as valuable (although not dispositive) reference points in determining an

 appropriate sentence for the defendant—one that avoids unwarranted sentencing disparities. The

 Court should keep in mind that the above JSIN data represents sentences imposed on defendants



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 convicted of economic crimes as the defendant was. The best way to avoid an unwarranted

 sentencing disparity is to avoid any disparity at all. For this plain reason, a sentence of 240

 months would satisfy this sentencing factor.

        The JSIN search using the criteria applicable to the defendant yielded additional relevant

 insight. For example, if the Court finds that the defendant’s offense level is 41, then her actual

 guideline range would be 324 to 405 months. If, as the United States argues, the Court finds that

 the defendant’s offense level is 43, her corresponding guideline range would be life. In either

 case, a sentence of 240 months would represent a substantial downward departure from the

 guideline range. The JSIN data reveals that 82% of defendants with the same sentencing criteria

 as the defendant (criminal history category I, offense level 43, and § 2B1.1) were the

 beneficiaries of a downward departure or variance.




 In other words, to get to the average sentence of 240 months reflected in the JSIN data, courts

 frequently had to vary downwards. The United States is not aware of factors that warrant a

 downward departure or variance in the present instance. But, if such factors exist, a sentence of

 240 months should be the result of applying them, not the starting point.




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                             SENTENCING RECOMENDATION

        After considering all the evidence, and in light of the above analysis of the relevant

 sentencing factors, the government recommends a sentence of 240 months of imprisonment.

 Specifically, the government recommends the statutory maximum sentence on each count of

 conviction—ten years each for Counts One through Eight, twenty years for Count Nine, and

 fifteen years each for Counts Ten and Eleven—but recommends that all sentences run

 concurrently. A sentence of 240 months of imprisonment would be well below the

 recommended Guidelines range, which is 324–405 months under the draft PSR, and life

 imprisonment if the Government’s Objections to the PSR are adopted. However, the

 government submits that such a sentence of 240 months of imprisonment would nonetheless be

 sufficient but not greater than necessary to comply with the provisions of 18 U.S.C. § 3553(a)(2).

        Respectfully submitted this the 7th day of February 2022.

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